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    17
                       IN THE UNITED STATES DISTRICT COURT
    18               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
    19
                                               )   8:20-cv-02400-JLS-KES
    20    MICROVENTION, INC.,                  )
    21                      Plaintiff,         )   DEFENDANTS’ MEMORANDUM
                                               )   IN OPPOSITION TO EX PARTE
    22                v.                       )   APPLICATION TO CONTINUE
                                                   CASE SCHEDULE
    23    BALT USA, LLC, a Delaware            )
          Limited Liability Company; DAVID     )
    24                                         )   Hon. Judge Josephine L. Staton
          FERRERA; and NGUYEN “JAKE”
    25    LE,                                  )
                                               )
    26                      Defendants.        )
    27                                         )
                                               )
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     1                                I. INTRODUCTION
     2         This Court has already extended the case schedule once, and MVI fails to
     3   show why ex parte relief is needed to further extend it now. MVI treats its ex
     4   parte motion as if it were an ordinary motion, never even mentioning the
     5   extraordinary showing that it must make to obtain ex parte relief. But, to obtain
     6   ex parte relief, MVI must show that it was diligent and not at fault for creating
     7   the emergency that allegedly warrants relief. MVI’s motion does not attempt to
     8   make this showing, and the evidence shows that MVI created any alleged
     9   emergency.
    10         Since at least May 2022, MVI was aware that the forensic expert MVI itself
    11   selected was unable to access two of the thirteen computers the expert was tasked
    12   with examining. MVI accuses Balt of spoliation, but neglects to mention that the
    13   computers were rendered inaccessible due to actions taken by the forensic expert
    14   chosen by MVI. In any event, MVI waited until now – in October 2022 – to ask
    15   for an extension of the discovery period on this basis. This is the antithesis of
    16   diligence.
    17         MVI also complains that its hand-picked forensic expert has been slow.
    18   But MVI greatly exaggerates the delays which have occurred. The forensic expert
    19   completed much of his work by July, and MVI should have been working with
    20   those materials since that time. The work of the forensic expert that has occurred
    21   after July 2022 has been minimal, and provides no excuse for the extraordinary
    22   relief MVI seeks.
    23         MVI also casts blame for delay on Balt, particularly with respect to ESI
    24   discovery and motions to compel. But Balt has been diligent in responding to
    25   MVI’s ESI discovery requests. Balt completed its production of ESI documents
    26   two months ago, and MVI has thus been aware of the scope of Balt’s email
    27   production months before bringing this motion. And Balt consented to Judge
    28   ///

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     1   Scott’s informal, expedited discovery procedure for all but the very first discovery
     2   motion in this case. This greatly reduced any potential delays.
     3         Balt, the corporate defendant in this case, stands ready to proceed under the
     4   current schedule, which requires the parties to complete discovery by November
     5   18. Balt has made all of its noticed witnesses available to MVI for depositions
     6   prior to this deadline, and is working with MVI to schedule them all. All of these
     7   witnesses are available before the close of discovery. MVI has served two
     8   deposition notices under Rule 30(b)(6), and Balt’s representative will be sitting
     9   for the first Rule 30(b)(6) deposition this Thursday, October 20. That same day,
    10   the parties will meet and confer over the scope of MVI’s second notice, as well
    11   as the scope of Balt’s single Rule 30(b)(6) notice. This discovery can and should
    12   be done by November 18. This case has been pending long enough.
    13         Ironically, it is MVI that has not completed its production of ESI
    14   documents, and it does not expect to do so until October 28. Despite this, Balt is
    15   ready, willing, and able to complete discovery according to the current schedule
    16   and move this case forward. MVI has already sought and obtained a prior
    17   extension of the case schedule, and the Court should deny MVI’s ex parte request
    18   to extend discovery for another three months.
    19        II. MVI HAS IGNORED THE EXTRAORDINARY SHOWING
    20                       REQUIRED FOR EX PARTE RELIEF
    21         “Ex parte motions are rarely justified.” Mission Power Eng’g Co. v.
    22   Continental Casualty Co., 883 F. Supp. 488, 490 (C.D. Cal. 1995). They should
    23   be filed only if “the tomatoes are about to spoil or the yacht is about to leave the
    24   jurisdiction and that all will be lost unless immediate action is taken.” Id. at 491-
    25   92. See also Judge Staton’s Procedures ¶ 3 (“Ex parte applications are for
    26   extraordinary relief only.”).
    27         Before a court will even consider a request for ex parte relief, the moving
    28   party must make two critical showings.

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     1             First, the evidence must show that the moving party’s cause will be
     2             irreparably prejudiced if the underlying motion is heard according to
     3             regular noticed motion procedures. Second, it must be established
     4             that the moving party is without fault in creating the crisis that
     5             requires ex parte relief, or that the crisis occurred as a result of
     6             excusable neglect.
     7   Mission Power, 883 F. Supp. at 492. This second requirement is particularly
     8   strict.
     9             To show that the moving party is without fault, or guilty only of
    10             excusable neglect, requires more than a showing that the other party
    11             is the sole wrongdoer. It is the creation of the crisis – the necessity
    12             for bypassing regular motion procedures – that requires explanation.
    13             For example, merely showing that trial is fast approaching and that
    14             the opposing party still has not answered crucial interrogatories is
    15             insufficient to justify ex parte relief. The moving party must also
    16             show that it used the entire discovery period efficiently and could not
    17             have, with due diligence, sought to obtain the discovery earlier in the
    18             discovery period.
    19   Id. at 493. As this Court similarly has explained: “Merely showing that deadlines
    20   are fast approaching is not enough.” Crorama, Inc. v. Dominguez, 2019 WL
    21   12340203 at *1 (C.D. Cal. Dec. 27, 2019) (Staton, J.).
    22             Despite this settled case law within this District, MVI’s ex parte
    23   application does not even mention the extraordinary showing needed for ex parte
    24   relief. MVI addresses the “good cause” standard for ordinary motions seeking a
    25   continuance of a case schedule. Dkt. 221 at 4-5. But this is not an ordinary
    26   motion and MVI is obligated to make the additional showing required for ex parte
    27   relief. MVI has failed to make the required showing. Most notably, MVI has
    28   ///

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     1   failed to show why it could not have proceeded by a regular noticed motion
     2   months ago.
     3        III. IF ANY URGENCY EXISTS, IT IS OF MVI’S OWN MAKING
     4          To the extent MVI addresses the ex parte nature of its motion at all, it does
     5   so only in a single sentence in its Notice. There, MVI argues that “there is
     6   insufficient time to seek relief through a regularly noticed motion” because
     7   discovery will close in one month. Dkt. 221 at 1:13-14. This, however, is a
     8   situation of MVI’s own making. This is evident from an examination of each of
     9   the circumstances on which MVI relies in an effort to establish good cause for a
    10   continuance. Moreover, even MVI does not see much urgency in this matter. It
    11   waited eight days after conferring with Balt about the present motion before filing
    12   it on an ex parte basis.
    13   A.     The Tran And Katayama Laptops
    14          MVI argues that “a new issue has arisen” regarding the laptops of named
    15   defendant Michelle Tran and former defendant Yoshitaka Katayama. Dkt. 221
    16   at 6:13. MVI’s supposedly “new issue” is the inability of Sergio Kopelev – the
    17   forensic expert selected by MVI and agreed to by the Defendants – to forensically
    18   analyze these two laptops because the “Bit Locker” encryption keys for these two
    19   laptops could not be found. Herrera Decl. ¶ 24. However, MVI has known since
    20   the April 19, 2022 forensic inspection by Mr. Kopelev’s team that Balt did not
    21   have these encryption keys and that Mr. Kopelov’s team could not access the two
    22   laptops. Stewart Decl. ¶¶ 5-6. During the month of May 2022, MVI suggested
    23   approaches for Balt to recover the encryption keys. Id. ¶ 8. But MVI has known
    24   since May 2022 that those approaches were unsuccessful and that the two laptops
    25   remained inaccessible. Id.
    26          Thus, MVI has known about this issue for at least five months.
    27   Nevertheless, MVI waited until now to move on an ex parte basis for a
    28   continuance of the case schedule based upon this issue. If MVI truly believed

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     1   that the lost encryption keys necessitated a continuance, it could have filed a
     2   regularly noticed motion back in May, June, July, August, or September. But it
     3   did not do so. MVI offers no justification for this delay because it has none.
     4         Moreover, though not directly relevant to MVI’s request for extraordinary
     5   ex parte relief, Balt believes it is necessary to respond to MVI’s unwarranted
     6   accusation of spoliation. Dkt. 221 at 6:13. MVI apparently claims that Balt
     7   spoliated the Tran and Katayama laptops because Mr. Kopelev has been unable
     8   to access them. However, as Balt has explained to MVI, Balt’s IT department
     9   quarantined the Tran and Katayama laptops under lock and key since the dates
    10   when Tran and Katayama left their employment with Balt. Stewart Decl. ¶ 4; Ex.
    11   2 at 1 (May 12, 2022 email). Immediately before meeting with Mr. Kopelev’s
    12   team on April 19, Balt’s IT department tested these two laptops (and all other
    13   laptops provided at the meeting) to confirm that they were accessible using the
    14   Balt IT department’s ordinary administrative credentials.       Id.   Using those
    15   credentials, Balt’s IT department successfully accessed all of the laptops. Id.
    16   Balt’s IT department provided those credentials to Mr. Kopelev’s team during
    17   the meeting. Id. Thus, all evidence contained on the laptops was preserved and
    18   intact when presented to Mr. Kopelev’s team.
    19         Mr. Kopelev’s team then began its examination of the laptops, conducting
    20   whatever examination it deemed appropriate. In the course of this examination,
    21   Mr. Kopelev’s team did something which triggered the Bit Locker encryption
    22   function to take effect on the Tran and Katayama laptops. As a result, Balt
    23   understands from Mr. Kopelev’s team that these two laptops are now encrypted
    24   and inaccessible using Balt’s ordinary administrative credentials. Id. ¶ 6.
    25         At the request of Mr. Kopelev’s team, Balt’s IT department then attempted
    26   to locate the encryption keys for these two laptops, known as Bit Locker keys.
    27   Id. ¶ 7. These keys, Mr. Kopelev’s team explained, were now necessary to access
    28   the two laptops. Balt was unable to locate them. Id. After its own initial search,

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     1   Balt worked in good faith with Mr. Kopelev’s team, MVI, and MVI’s expert in
     2   an effort to locate the encryption keys, but could not do so. Id. ¶ 8. Balt acted
     3   entirely in good faith to address the encryption function triggered by the expert’s
     4   activities, and MVI’s accusations of spoliation are meritless.
     5   B.    Balt’s Production Of ESI Documents
     6         Next, MVI argues that there have been delays in Balt’s production of ESI
     7   documents. Dkt. 221 at 5:6-22. MVI complains that there was a 10-month delay
     8   between its first proposal of an ESI protocol and Judge Scott’s order granting
     9   entry of an ESI protocol in March 2022. Herrera Decl. ¶ 7. However, this 10-
    10   month delay plainly works against the grant of ex parte relief here. If the matter
    11   were so urgent, MVI should have moved more quickly for entry of the ESI order.
    12   ESI discovery then would have begun more promptly.
    13         MVI also complains that Balt somehow unreasonably delayed production
    14   of its ESI after receiving MVI’s search requests on April 29, 2022. Id. ¶ 8.
    15   However, this is simply untrue. MVI’s April 29 search terms were plainly not
    16   compliant with the ESI protocol.       That protocol provided: “A disjunctive
    17   combination of multiple words or phrases (e.g., ‘computer’ or ‘system’) broadens
    18   the search, and thus each word or phrase shall count as a separate search term.”
    19   Dkt. 138 § 6(c). MVI served Balt with literally dozens of search terms separated
    20   by the disjunctive word “or,” that it insisted be counted as single search terms.
    21   See Dkt. 166 at 1 (discussing MVI’s search terms 2 and 4).
    22         Balt understandably objected to these search terms, and thus the issue had
    23   to be resolved by Judge Scott. Balt agreed to Judge Scott’s expedited procedure
    24   to minimize any delay. Judge Scott resolved the motion on letter briefs filed by
    25   the parties shortly after the dispute arose, and Judge Scott issued her order the
    26   next business day. While Judge Scott ruled in MVI’s favor, she did so by striking
    27   the language from the ESI protocol quoted above. Dkt. 170 at 18:10. It was
    28   ///

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  1   plainly reasonable for Balt to rely on the plain language of the ESI protocol, even
  2   though Judge Scott ultimately struck that language.
  3            MVI also complains about alleged delays in Balt’s production of ESI after
  4   Judge Scott’s July 18, 2022 order. Herrera Decl. ¶ 8. But Judge Scott ordered
  5   Balt to begin its ESI production within 10 days and to complete its production
  6   within 30 days. Dkt. 170 at 19:8-21:8. Despite the volume of production – which
  7   MVI has estimated to include 800,000 pages of ESI, Herrera Decl. ¶ 8 – Balt
  8   completed its production as ordered. Stewart Decl. ¶ 17. As MVI concedes,
  9   production of Balt’s ESI was completed two months ago. Herrera Decl. ¶ 8.
 10            MVI’s complaint that the ESI production is too large for it to review under
 11   the current schedule is doubly flawed. First, MVI has known of the size of the
 12   production for two months. MVI could have moved for a continuance of the
 13   discovery cut-off date at that time if it believed it would be necessary, rather than
 14   waiting two months and seeking emergency ex parte relief. Second, the large
 15   volume of Balt’s ESI production is a problem of MVI’s own making. Balt
 16   explained to MVI that the search terms chosen by MVI would lead to the
 17   production of an inordinate amount of irrelevant information. Stewart Decl. ¶ 16.
 18   But MVI insisted on moving forward with its overbroad search terms, even going
 19   to Judge Scott to force the production of documents responsive to those search
 20   terms.
 21   C.       The Work Of The Forensic Expert Proposed By MVI
 22            As another excuse, MVI complains about the speed of the work of Mr.
 23   Kopelev. Dkt. 221 at 5-6. As mentioned above, Mr. Kopelev is the forensic
 24   expert proposed by MVI itself to examine Balt’s laptops. Stewart Decl. ¶ 2. MVI
 25   thus shares part of the blame with Mr. Kopelev for any delays that may have
 26   occurred.
 27            Moreover, MVI greatly exaggerates the amount of delay caused by the
 28   expert it selected. Mr. Kopelev has prepared reports for 11 laptops. For the first

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  1   seven of those laptops, Mr. Kopelev submitted his reports to Balt for privilege
  2   review between May 24 and May 27, about a month after Mr. Kopelev made
  3   copies of these laptops. Stewart Decl. ¶ 10. Balt completed its privilege review
  4   of these reports – and nearly all other reports1 – within the 10-day deadline
  5   provided by the forensic protocol. Id. Mr. Kopelev’s team then provided the
  6   first three of the redacted reports to MVI on June 10, about a week after Balt
  7   completed its privilege review. Id. ¶ 11. Mr. Kopelev’s team provided the
  8   remaining four redacted reports to MVI between June 16 and July 18, three
  9   months ago. Id.
 10         Mr. Kopelev’s team provided Balt with two additional reports for privilege
 11   review on June 3, less than two weeks after the initial batch of seven reports. Id.
 12   ¶ 12. Balt again timely completed its review. Mr. Kopelev’s team then provided
 13   its redacted reports to MVI on July 15 and July 18, again three months ago. Id.
 14         If MVI had any issues regarding the speed of production of these nine
 15   reports, MVI should have raised that issue with this Court at least three months
 16   ago. Again, it chose not to do so, and instead is seeking ex parte relief on an
 17   emergency basis.
 18         Balt understands Mr. Kopelev’s team has had technical difficulties in
 19   preparing his final two reports, which are unrelated to the Tran and Katayama
 20   laptops. MVI received one of these reports on September 1, six weeks ago. Balt
 21   understands that Mr. Kopelev’s team is completing the redactions to the final
 22   report and should have it to MVI in a matter of a few days. But Mr. Kopelev’s
 23   team has been informing MVI for months of its internal difficulties in forensically
 24   examining these two computer devices and to expect delays. Stewart Decl. ¶ 13.
 25   ///
 26
            1
 27          For one report, Balt requested and received a short extension of time
      because Balt was required to review the text of several hundred thousand text
 28   messages. Stewart Decl. ¶ 10.

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  1   Thus, again, if MVI thought this delay from the expert it selected justified a
  2   continuance, it should have asked for that continuance long ago.
  3   D.        The Number Of Discovery Motions
  4             As its final excuse, MVI complains that it has filed 11 discovery motions
  5   before Judge Scott. Dkt. 221 at 6-7. However, MVI ignores the fact that the 10
  6   most recent discovery motions were all decided using Judge Scott’s informal,
  7   expedited discovery procedure. Under this procedure, when a discovery dispute
  8   arises, the parties contact Judge Scott’s chambers to schedule a telephonic
  9   hearing, usually within about a week. During that week, the parties are required
 10   to submit simultaneous two-page letter briefs, and Judge Scott conducts the
 11   hearing the following day. In almost every instance, Judge Scott has ruled from
 12   the bench at the hearing.
 13             Thus, these 10 discovery disputes did not result in any significant delay.
 14   Moreover, these discovery disputes did not delay discovery generally, but only
 15   discovery of the specific issue presented to Judge Scott, and then only for about
 16   a week. Balt’s discovery efforts proceeded unabated while Judge Scott resolved
 17   these discovery disputes. MVI does not explain how these short delays regarding
 18   single issues, most decided many months ago, justify its request for ex parte
 19   relief.
 20             In addition, MVI is simply wrong when it states that “Judge Scott has
 21   commented on more than one occasion that a discovery extension may likely be
 22   needed in view of the significant and repeated delays in connection with the
 23   discovery process.” Dkt. 221 at 7:2-4 (citing Herrera Decl., Exs. 2-3). MVI’s
 24   own transcript excerpts make clear that Judge Scott never offered any opinion on
 25   the appropriateness of an extension of time. Instead, in the two cited transcripts,
 26   Judge Scott merely advised the parties that if they both believed an extension was
 27   necessary, they should submit a stipulation to this Court showing good cause.
 28   ///

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  1   Herrera Decl., Ex. 2 at 8:9-15; Ex. 3 at 69:19-70:10. Thus, MVI’s motion hardly
  2   comes with the endorsement of Judge Scott.
  3         IV. MVI UNFAIRLY DELAYED THE FILING OF ITS EX PARTE
  4           MOTION AFTER THE PARTIES MET AND CONFERRED
  5           “[E]x parte motions are inherently unfair, and they pose a threat to the
  6   administration of justice.” Mission Power, 883 F. Supp. at 490. “They debilitate
  7   the adversary system. Though the adversary does have a chance to be heard, the
  8   parties’ opportunities to prepare are grossly unbalanced. Often, the moving
  9   party’s papers reflect days, even weeks, of investigation and preparation; the
 10   opposing party has perhaps a day or two.” Id.
 11           MVI has taken full advantage of this unfairness. The parties met and
 12   conferred regarding this ex parte motion on October 10. Herrera Decl. ¶ 2. MVI
 13   then took eight days to file this ex parte motion, giving Balt only 24 hours to
 14   respond. This unfairness is reason enough alone to deny the motion. It also
 15   further illustrates the lack of perceived urgency on the part of MVI.
 16           V. MVI HAS NOT SHOWN GOOD CAUSE FOR A SECOND
 17                                  CONTINUANCE
 18           MVI concedes that this is its second request for a continuance. Dkt. 221
 19   at 1. The first request resulted in more than a 4½ month extension of the
 20   discovery period. Dkt. 144. MVI now seeks 3 additional months of discovery
 21   and a like continuance of all other pretrial dates. Dkt. 221 at 1-2. MVI also
 22   concedes that it must show “good cause” to obtain its requested continuance, and
 23   that the focus of the good cause inquiry is on MVI’s diligence. Id. at 4-5. If [the
 24   moving] party was not diligent, the inquiry should end.” Johnson v. Mammoth
 25   Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992).
 26           MVI has not been diligent here. As an initial matter, as just discussed,
 27   MVI has not even been diligent in filing its ex parte motion. It could have filed
 28   ///

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  1   it months ago as a regularly noticed motion. Equally important, MVI has not
  2   been diligent in seeking to complete discovery.
  3         Balt will begin again with the Tran and Katayama laptops. As discussed
  4   above, Mr. Kopelev’s team was unable to access these laptops back in April 2022,
  5   and MVI was well aware of this. In May 2022, the parties and Mr. Kopelev’s
  6   team engaged in further efforts to try to access the two laptops, but were
  7   unsuccessful. MVI seemingly had exhausted its efforts. But now, MVI claims
  8   it wants to do something more to try to access these laptops. It does not explain
  9   what else it might do, but asks for three more months to do it. MVI has had from
 10   May until now to try these unspecified additional things, but failed to try any of
 11   them. Indeed, MVI still has not contacted Balt or Mr. Kopelev with any request
 12   to undertake additional efforts. MVI has been anything but diligent.
 13         MVI also has not been diligent in its review of the materials Mr. Kopelev’s
 14   team has provided. As explained above, MVI has had three of Mr. Kopelev’s
 15   reports since June 10, 2022. Stewart Decl. ¶ 11. It received six more by July 18,
 16   2022. Id. ¶¶ 10-12. MVI therefore has had four to five months to review these
 17   reports. Any short delay by Mr. Kopelev’s team in providing these reports
 18   provides no justification for MVI’s own lengthy delay.
 19         MVI received the tenth report on September 1, 2022, six weeks ago, and
 20   another four weeks remain in the discovery period. Id. ¶ 13. Ten weeks should
 21   be plenty of time to review this report. MVI should receive the final report in a
 22   matter of days, leaving it four weeks to analyze a single report. As long as MVI
 23   is diligent, it has not been prejudiced by any delay of Mr. Kopelev’s team.
 24         Finally, MVI has not been diligent with respect to ESI discovery. As
 25   mentioned above, MVI delayed 10 months before seeking an order entering the
 26   ESI protocol. But for that delay, ESI discovery could have begun 10 months
 27   earlier. Moreover, as discussed above, Balt has not caused any unwarranted
 28   delays of ESI discovery. To the contrary, it is MVI that is proceeding slowly.

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  1   As mentioned above, MVI does not expect to complete its own production of ESI
  2   documents until October 28, even though MVI has had Balt’s search terms for
  3   over two months.
  4    VI. MVI’S TWO CITED CASES ARE PLAINLY DISTINGUISHABLE
  5         MVI cites just two cases to support its attempted showing of good cause
  6   and diligence. Both cases are clearly distinguishable.
  7         First, in Mikell v. Baxter Healthcare Corp., 2014 WL 12588640 at *6
  8   (C.D. Cal. Sept. 16, 2014), the moving party learned during a deposition taken
  9   one day before the close of discovery that its opponent had suppressed
 10   documents. Because this information came to light so late in discovery through
 11   no fault of the moving party, the court found the moving party to have been
 12   diligent in seeking an additional one month for discovery. Id. Here, MVI points
 13   to no recent events that warrant a three-month continuance of the discovery
 14   period.
 15         Second, Sepulveda v. City of Whittier, 2018 WL 11360438 at *4-*5 (C.D.
 16   Cal. July 9, 2018), involved a motion to amend a complaint to add two non-party
 17   police officers as defendants.     The plaintiff was informed by the police
 18   department of the name of the defendant police officers on the night of the
 19   incident, but omitted the names of the non-party officers. Id. Likewise, the police
 20   report mentioned only the party officers. Id. The plaintiff moved to add the non-
 21   party officers when she later learned of their identities and involvement through
 22   depositions. Id. Again, because the plaintiff moved diligently upon discovery of
 23   the non-party officers, the court permitted the amendment. Id. No similar
 24   circumstances are present here.
 25                                 VII. CONCLUSION
 26         MVI has not shown entitlement to extraordinary ex parte relief. Nor has it
 27   shown good cause for a continuance of the discovery period. Accordingly,
 28   MVI’s ex parte motion should be denied.

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  1                                Respectfully submitted,
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  3
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